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12   Heredia Boxing Management
13                        UNITED STATES DISTRICT COURT
14
                         CENTRAL DISTRICT OF CALIFORNIA
15
                                  (EASTERN DIVISION)
16
     Joseph Diaz, Jr.,                          Case No. 5:20-cv-02332-JWH-KK
17

18                Plaintiff,
19   vs.                                        DEFENDANT HEREDIA BOXING
20   RALPH HEREDIA; JOHN DOE, ESQ.; MANAGEMENT’S ANSWER TO
21   and JANE DOES 1 through 20,                THE SECOND AMENDED
22   inclusive,                                 COMPLAINT AND
23                                              COUNTERCLAIM
                  Defendants.
24

25   DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE
26       SECOND AMENDED COMPLAINT AND COUNTERCLAIM
27

28   DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIMS-
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1
             Pursuant to Rule 12(a) of the Federal Rules of Civil Procedure and this
2    Court’s August 15, 2022 Order (ECF 138), Defendant Heredia Boxing
3
     Management (“HBM” or “Defendant”), by counsel, timely answers and otherwise
4

5    responds to the Second Amended Complaint, asserts its counterclaim against
6
     Plaintiff Joseph P. Diaz Jr. (“Diaz”), and states as follows:
7

8                                        First Defense
9
             The Second Amended Complaint fails to state a claim upon which relief can
10
     be granted.
11

12                                      Second Defense
13
                                      INTRODUCTION
14

15      1.      Paragraph 1 contains no allegations to which a response by HBM is
16
                required. To the extent a response is required, Defendant denies them.
17

18
        2.      The allegations of Paragraph 2 refer to defendants other than HBM and

19              therefore no response by HBM is required. To the extent a response by
20
                HBM is required, HBM denies them.
21

22      3.      Paragraph 3 contains no allegations to which a response by HBM is
23
                required. To the extent a response is required, Defendant denies them.
24

25      4.      The allegations of Paragraph 4 refer to defendants other than HBM and
26
                therefore no response by HBM is required. To the extent a response by
27
                HBM is required, HBM denies them.
28

                DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                                    COMPLAINT AND COUNTERCLAIMS- 2
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1
      5.    The allegations of Paragraph 5 refer to defendants other than HBM and
2           therefore no response by HBM is required. To the extent a response by
3
            HBM is required, HBM denies them.
4

5     6.    The allegations of Paragraph 6 refer to defendants other than HBM and
6
            therefore no response by HBM is required. To the extent a response by
7

8           HBM is required, HBM denies them.
9
      7.    Paragraph 7 contains no allegations to which a response by HBM is
10
            required. To the extent a response is required, Defendant denies them.
11

12    8.    Defendant is without knowledge or information sufficient to form a
13
            belief as to the truth of the allegations of this paragraph and therefore
14

15          denies them.
16
      9.    Defendant is without knowledge or information sufficient to form a
17

18
            belief as to the truth of the allegations of this paragraph and therefore

19          denies them.
20
      10.   Defendant admits the allegations in this paragraph.
21

22    11.   Defendant is without knowledge or information sufficient to form a
23
            belief as to the truth of the allegations of this paragraph and therefore
24

25          denies them.
26
      12.   Defendant is without knowledge or information sufficient to form a
27
            belief as to the truth of the allegations of sentences 1 and 3 of this
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                                COMPLAINT AND COUNTERCLAIMS- 3
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1
            paragraph and therefore denies them. The allegations of sentence 2 of
2           this paragraph consist of legal conclusions to which no response is
3
            required. To the extent a response is required, Defendant denies the
4

5           allegations.
6
      13.   The allegations of this paragraph consist of legal conclusions to which
7

8           no response is required. To the extent a response is required as to any
9
            relationship of any defendant other than HBM to any other defendant,
10
            Defendant is without knowledge or information sufficient to form a
11

12          belief as to the truth of the allegations of this paragraph and therefore
13
            denies them. Further to the extent a response is required, HBM denies
14

15          them.
16
                            JURISDICTION AND VENUE
17

18
      14.   Paragraph 14 contains no allegations to which a response is required. To

19          the extent a response is required, Defendant denies them.
20
      15.   Paragraph 15 contains no allegations to which a response is required. To
21

22          the extent a response is required, Defendant denies them.
23
      16.   Paragraph 16 contains a legal conclusion to which no response is
24

25          required. Defendant admits that it does business in the Court’s judicial
26
            district.
27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                                COMPLAINT AND COUNTERCLAIMS- 4
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1
                            FACTUAL ALLEGATIONS
2     17.   Paragraph 17 contains no allegations to which a response is required. To
3
            the extent a response is required, Defendant denies them.
4

5     18.   Paragraph 18 contains no allegations to which a response is required. To
6
            the extent a response is required, Defendant denies them.
7

8     19.   Paragraph 19 contains no allegations to which a response is required. To
9
            the extent a response is required, Defendant denies them.
10
      20.   Paragraph 20 contains no allegations to which a response is required. To
11

12          the extent a response is required, Defendant denies them.
13
      21.   Paragraph 21 contains no allegations to which a response is required. To
14

15          the extent a response is required, Defendant denies them.
16
      22.   Paragraph 22 contains no allegations to which a response is required. To
17

18
            the extent a response is required, Defendant denies them.

19    23.   Paragraph 23 contains no allegations to which a response is required. To
20
            the extent a response is required, Defendant denies them.
21

22    24.   Paragraph 24 contains no allegations to which a response is required. To
23
            the extent a response is required, Defendant denies them.
24

25    25.   Paragraph 25 contains no allegations to which a response is required. To
26
            the extent a response is required, Defendant denies them.
27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                                COMPLAINT AND COUNTERCLAIMS- 5
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1
      26.   Paragraph 26 contains no allegations to which a response is required. To
2           the extent a response is required, Defendant denies them.
3
      27.   Paragraph 27 contains no allegations to which a response is required. To
4

5           the extent a response is required, Defendant denies them.
6
      28.   Paragraph 28 contains no allegations to which a response is required. To
7

8           the extent a response is required, Defendant denies them.
9
      29.   Paragraph 29 contains no allegations to which a response is required. To
10
            the extent a response is required, Defendant denies them.
11

12    30.   Paragraph 30 contains no allegations to which a response is required. To
13
            the extent a response is required, Defendant denies them.
14

15    31.   Paragraph 31 contains no allegations to which a response is required. To
16
            the extent a response is required, Defendant denies them.
17

18
      32.   Paragraph 32 contains no allegations to which a response is required. To

19          the extent a response is required, Defendant denies them.
20
      33.   Paragraph 33 contains no allegations to which a response is required. To
21

22          the extent a response is required, Defendant denies them.
23
      34.   Paragraph 34 states a legal conclusion to which no response is required.
24

25          To the extent a response is required, Defendant denies them.
26
      35.   Paragraph 35 states legal conclusions to which no response is required.
27
            To the extent a response is required, Defendant denies them.
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                                COMPLAINT AND COUNTERCLAIMS- 6
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1
      36.   HBM admits that Ralph Heredia has been an officer of HBM. The
2           remaining allegations of Paragraph 36 refer to defendants other than
3
            HBM and therefore no response by HBM is required. To the extent a
4

5           response by HBM is required, HBM denies them.
6
      37.   Defendant is without knowledge or information sufficient to form a
7

8           belief as to the truth of the allegations of this paragraph and therefore
9
            denies them.
10
      38.   Defendant is without knowledge or information sufficient to form a
11

12          belief as to the truth of the allegations of this paragraph and therefore
13
            denies them.
14

15    39.   Defendant is without knowledge or information sufficient to form a
16
            belief as to the truth of the allegations of this paragraph and therefore
17

18
            denies them.

19    40.   Defendant is without knowledge or information sufficient to form a
20
            belief as to the truth of the allegations of this paragraph and therefore
21

22          denies them.
23
      41.   Defendant is without knowledge or information sufficient to form a
24

25          belief as to the truth of the allegations of this paragraph and therefore
26
            denies them.
27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                                COMPLAINT AND COUNTERCLAIMS- 7
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1
      42.   Defendant is without knowledge or information sufficient to form a
2           belief as to the truth of the allegations of this paragraph and therefore
3
            denies them.
4

5     43.   Defendant is without knowledge or information sufficient to form a
6
            belief as to the truth of the allegations of this paragraph and therefore
7

8           denies them.
9
      44.   Defendant is without knowledge or information sufficient to form a
10
            belief as to the truth of the allegations of this paragraph and therefore
11

12          denies them.
13
      45.   Defendant is without knowledge or information sufficient to form a
14

15          belief as to the truth of the allegations of this paragraph and therefore
16
            denies them.
17

18
      46.   Defendant is without knowledge or information sufficient to form a

19          belief as to the truth of the allegations of this paragraph and therefore
20
            denies them.
21

22    47.   Defendant is without knowledge or information sufficient to form a
23
            belief as to the truth of the allegations of this paragraph and therefore
24

25          denies them.
26

27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                                COMPLAINT AND COUNTERCLAIMS- 8
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1
      48.   Defendant is without knowledge or information sufficient to form a
2           belief as to the truth of the allegations of this paragraph and therefore
3
            denies them.
4

5     49.   Defendant is without knowledge or information sufficient to form a
6
            belief as to the truth of the allegations of this paragraph and therefore
7

8           denies them.
9
      50.   Defendant is without knowledge or information sufficient to form a
10
            belief as to the truth of the allegations of this paragraph and therefore
11

12          denies them.
13
      51.   Defendant is without knowledge or information sufficient to form a
14

15          belief as to the truth of the allegations of this paragraph and therefore
16
            denies them.
17

18
      52.   Defendant is without knowledge or information sufficient to form a

19          belief as to the truth of the allegations of this paragraph and therefore
20
            denies them.
21

22    53.   Defendant is without knowledge or information sufficient to form a
23
            belief as to the truth of the allegations of this paragraph and therefore
24

25          denies them.
26

27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                                COMPLAINT AND COUNTERCLAIMS- 9
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1
      54.   Defendant is without knowledge or information sufficient to form a
2           belief as to the truth of the allegations of this paragraph and therefore
3
            denies them.
4

5     55.   Defendant is without knowledge or information sufficient to form a
6
            belief as to the truth of the allegations of this paragraph and therefore
7

8           denies them.
9
      56.   Defendant is without knowledge or information sufficient to form a
10
            belief as to the truth of the allegations of this paragraph and therefore
11

12          denies them. Defendant further states that the graphic material within
13
            this paragraph, to the extent it is an accurate copy of a genuine
14

15          document, speaks for itself.
16
      57.   Defendant is without knowledge or information sufficient to form a
17

18
            belief as to the truth of the allegations of this paragraph and therefore

19          denies them.
20
      58.   Defendant is without knowledge or information sufficient to form a
21

22          belief as to the truth of the allegations of this paragraph and therefore
23
            denies them. Defendant further states that the graphic material within
24

25          this paragraph, to the extent it is an accurate copy of a genuine
26
            document, speaks for itself.
27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 10
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1
      59.   Defendant is without knowledge or information sufficient to form a
2           belief as to the truth of the allegations of this paragraph and therefore
3
            denies them.
4

5     60.   Defendant is without knowledge or information sufficient to form a
6
            belief as to the truth of the allegations of this paragraph and therefore
7

8           denies them.
9
      61.   Defendant is without knowledge or information sufficient to form a
10
            belief as to the truth of the allegations of this paragraph and therefore
11

12          denies them.
13
      62.   Defendant is without knowledge or information sufficient to form a
14

15          belief as to the truth of the allegations of this paragraph and therefore
16
            denies them.
17

18
      63.   Defendant is without knowledge or information sufficient to form a

19          belief as to the truth of the allegations of this paragraph and therefore
20
            denies them.
21

22    64.   Defendant admits the allegation in sentence 1 that it is a California
23
            corporation, and denies the remaining allegations of sentence 1. The
24

25          allegation in sentence 2 is admitted. Defendant admits that the address
26
            listed in HBM’s public filings with the California Secretary of State is the
27
            same as the address listed in Global Processing Systems, Inc.’s public
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 11
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1
            filings with the California Secretary of State, for which Moses Heredia is
2           listed as an officer and director. The allegations of sentence 4 are
3
            admitted. Defendant is without knowledge or information sufficient to
4

5           form a belief as to the truth of the allegations of sentence 5 and therefore
6
            denies them. HBM denies the inference in sentence 6 that it received
7

8           payments for acting as Diaz’ manager. To the extent a response is
9
            required to the allegations in sentence 6, they are denied. HBM admits
10
            that it received checks issued by Golden Boy Promotions for the boxing
11

12          manager fees earned by Diaz’ duly-licensed boxing manager as
13
            recognized by the California State Athletic Commission and as
14

15          confirmed in arbitration, Moses Heredia, pursuant to Moses Heredia’s
16
            lawful directive. The allegations in sentences 8, 9, and 10 are denied.
17

18
      65.   Defendant is without knowledge or information sufficient to form a

19          belief as to the truth of the allegations of this paragraph and therefore
20
            denies them.
21

22    66.   Defendant is without knowledge or information sufficient to form a
23
            belief as to the truth of the allegations this paragraph and therefore
24

25          denies them.
26

27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 12
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1
      67.   Defendant is without knowledge or information sufficient to form a
2           belief as to the truth of the allegations of this paragraph and therefore
3
            denies them.
4

5     68.   Defendant is without knowledge or information sufficient to form a
6
            belief as to the truth of the allegations of this paragraph and therefore
7

8           denies them.
9
      69.   Defendant is without knowledge or information sufficient to form a
10
            belief as to the truth of the allegations of this paragraph and therefore
11

12          denies them.
13
      70.   Defendant is without knowledge or information sufficient to form a
14

15          belief as to the truth of the allegations of this paragraph and therefore
16
            denies them.
17

18
      71.   Defendant is without knowledge or information sufficient to form a

19          belief as to the truth of the allegations of this paragraph and therefore
20
            denies them.
21

22    72.   Defendant is without knowledge or information sufficient to form a
23
            belief as to the truth of the allegations of this paragraph and therefore
24

25          denies them.
26

27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 13
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1
      73.   Defendant is without knowledge or information sufficient to form a
2           belief as to the truth of the allegations of this paragraph and therefore
3
            denies them.
4

5                               CAUSES OF ACTION
6
                             FIRST CAUSE OF ACTION
7

8                                         Fraud
9
                                   (Against Heredia)
10
      74.   Defendant repeats and incorporates by reference its responses to all
11

12          previous paragraphs in response to this paragraph.
13
      75.   Defendant is without knowledge or information sufficient to form a
14

15          belief as to the truth of the allegations of this paragraph and therefore
16
            denies them.
17

18
      76.   Defendant is without knowledge or information sufficient to form a

19          belief as to the truth of the allegations of this paragraph and therefore
20
            denies them.
21

22     76a. Subparagraph 76a sets forth legal a conclusion to which no response is
23
              required. To the extent a response may be required, however,
24

25            Defendant is without knowledge or information sufficient to form a
26
              belief as to the truth of the allegations of this paragraph and therefore
27
              denies them.
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 14
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1
       76b. Defendant is without knowledge or information sufficient to form a
2             belief as to the truth of the allegations of this subparagraph and
3
              therefore denies them.
4

5       76c. Defendant is without knowledge or information sufficient to form a
6
              belief as to the truth of the allegations of this subparagraph and
7

8             therefore denies them.
9
        76d. Defendant is without knowledge or information sufficient to form a
10
              belief as to the truth of the allegations of this subparagraph and
11

12            therefore denies them.
13
        76e. Defendant is without knowledge or information sufficient to form a
14

15            belief as to the truth of the allegations of this subparagraph and
16
              therefore denies them.
17

18
        76f. Defendant is without knowledge or information sufficient to form a

19            belief as to the truth of the allegations of this subparagraph and
20
              therefore denies them.
21

22      76g. Defendant is without knowledge or information sufficient to form a
23
              belief as to the truth of the allegations of this subparagraph and
24

25            therefore denies them.
26

27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 15
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1
       76h. Defendant is without knowledge or information sufficient to form a
2                belief as to the truth of the allegations of this subparagraph and
3
                 therefore denies them.
4

5       76i.     Defendant is without knowledge or information sufficient to form a
6
                 belief as to the truth of the allegations of this subparagraph and
7

8                therefore denies them.
9
      77.      Defendant is without knowledge or information sufficient to form a
10
               belief as to the truth of the allegations of this paragraph and therefore
11

12             denies them.
13
      78.      Defendant is without knowledge or information sufficient to form a
14

15             belief as to the truth of the allegations of this paragraph and therefore
16
               denies them.
17

18
      79.      Defendant is without knowledge or information sufficient to form a

19             belief as to the truth of the allegations of this paragraph and therefore
20
               denies them.
21

22    80.      Paragraph 80 sets forth a legal conclusion to which no response is
23
               required. To the extent a response may be required, however, Defendant
24

25             is without knowledge or information sufficient to form a belief as to the
26
               truth of the allegations of this paragraph and therefore denies them.
27

28

               DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                                  COMPLAINT AND COUNTERCLAIMS- 16
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1
      81.   Paragraph 81 sets forth a legal conclusion to which no response is
2           required. To the extent a response may be required, however, Defendant
3
            is without knowledge or information sufficient to form a belief as to the
4

5           truth of the allegations of this paragraph and therefore denies them.
6
      82.   Paragraph 82 sets forth legal conclusions to which no response is
7

8           required. To the extent a response may be required, however, Defendant
9
            is without knowledge or information sufficient to form a belief as to the
10
            truth of the allegations of this paragraph and therefore denies them.
11

12                         SECOND CAUSE OF ACTION
13
                              Breach of Fiduciary Duty
14

15                                 (Against Heredia)
16
      83.   Defendant repeats and incorporates by reference its response to all
17

18
            previous paragraphs in response to this paragraph.

19    84.   This paragraph sets forth legal conclusions to which no response is
20
            required. To the extent a response may be required, however, Defendant
21

22          is without knowledge or information sufficient to form a belief as to the
23
            truth of the allegations of this paragraph and therefore denies them.
24

25    85.   This paragraph sets forth legal conclusions to which no response is
26
            required. To the extent a response may be required, however, Defendant
27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 17
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1
            is without knowledge or information sufficient to form a belief as to the
2           truth of the allegations of this paragraph and therefore denies them.
3
      86.   This paragraph sets forth legal conclusions to which no response is
4

5           required. To the extent a response may be required, however, Defendant
6
            is without knowledge or information sufficient to form a belief as to the
7

8           truth of the allegations of this paragraph and therefore denies them.
9
      87.   This paragraph sets forth legal conclusions to which no response is
10
            required. To the extent a response may be required, however, Defendant
11

12          is without knowledge or information sufficient to form a belief as to the
13
            truth of the allegations of this paragraph and therefore denies them.
14

15    88.   This paragraph sets forth legal conclusions to which no response is
16
            required. To the extent a response may be required, however, Defendant
17

18
            is without knowledge or information sufficient to form a belief as to the

19          truth of the allegations of this paragraph and therefore denies them.
20
                            THIRD CAUSE OF ACTION
21

22                       Breach of Implied-in-Fact Contract
23
                                   (Against Heredia)
24

25    89.   Defendant repeats and incorporates by reference its response to all
26
            previous paragraphs in response to this paragraph.
27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 18
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1
      90.   Sentences 1 and 2 of Paragraph 90 set forth legal conclusions to which
2           no response is required. To the extent a response may be required,
3
            however, Defendant is without knowledge or information sufficient to
4

5           form a belief as to the truth of the allegations of this paragraph and
6
            therefore denies them.
7

8     91.   Paragraph 91 sets forth a legal conclusion to which no response is
9
            required. To the extent a response may be required, however, Defendant
10
            is without knowledge or information sufficient to form a belief as to the
11

12          truth of the allegations of this paragraph and therefore denies them.
13
      92.   Defendant is without knowledge or information sufficient to form a
14

15          belief as to the truth of the allegations of this paragraph and therefore
16
            denies them.
17

18
      93.   Sentence 1 of Paragraph 93 sets forth a legal conclusion to which no

19          response is required. To the extent a response may be required,
20
            however, Defendant is without knowledge or information sufficient to
21

22          form a belief as to the truth of the allegations of this paragraph and
23
            therefore denies them.
24

25    94.   Paragraph 94 sets forth a legal conclusion to which no response is
26
            required. To the extent a response may be required, however, Defendant
27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 19
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1
            is without knowledge or information sufficient to form a belief as to the
2           truth of the allegations of this paragraph and therefore denies them.
3
                           FOURTH CAUSE OF ACTION
4

5                                      Conversion
6
                                (Against All Defendants)
7

8     95.   Defendant repeats and incorporates by reference its response to all
9
            previous paragraphs in response to this paragraph.
10
      96.   Paragraph 96 sets forth a legal conclusion to which no response is
11

12          required. To the extent a response may be required, however, Defendant
13
            is without knowledge or information sufficient to form a belief as to the
14

15          truth of the allegations of this paragraph and therefore denies them.
16
      97.   To the extent the allegations of Paragraph 97, including subparagraphs,
17

18
            relate to entities other than Defendant, they do not require a response

19          from Defendant. To the extent a response is required to those allegations
20
            relating to other entities, Defendant is without knowledge or information
21

22          sufficient to form a belief as to the truth of those allegations and therefore
23
            denies them. Defendant denies the allegations of Paragraph 97 that relate
24

25          to it.
26
       97a. Subparagraph 97a sets forth legal conclusions to which no response is
27
              required. To the extent the allegations of this subparagraph relate to
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 20
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1
              entities other than Defendant, they do not require a response from
2             Defendant. To the extent a response is required to those allegations
3
              relating to other entities, Defendant is without knowledge or
4

5             information sufficient to form a belief as to the truth of those
6
              allegations and therefore denies them. To the extent a response may be
7

8             required, Defendant denies the allegations of this subparagraph that
9
              relate to it.
10
       97b. Subparagraph 97b sets forth a legal conclusion to which no response is
11

12            required. To the extent a response may be required, however,
13
              Defendant is without knowledge or information sufficient to form a
14

15            belief as to the truth of the allegations of this subparagraph and
16
              therefore denies them.
17

18
        97c. Subparagraph 97c sets forth a legal conclusion to which no response is

19            required. To the extent a response may be required, however,
20
              Defendant denies any allegation specifically referencing it, and as to
21

22            allegations referencing others, is without knowledge or information
23
              sufficient to form a belief as to the truth of those other allegations, and
24

25            therefore denies them.
26
        97d. Subparagraph 97d sets forth a legal conclusion to which no response is
27
              required. To the extent a response may be required, however,
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 21
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1
              Defendant denies any allegation specifically referencing it, and as to
2             allegations referencing others, is without knowledge or information
3
              sufficient to form a belief as to the truth of those other allegations, and
4

5             therefore denies them.
6
       97e. Subparagraph 97e sets forth a legal conclusion to which no response is
7

8             required. To the extent a response may be required, however,
9
              Defendant is without knowledge or information sufficient to form a
10
              belief as to the truth of the allegations of this subparagraph and
11

12            therefore denies them.
13
      98.   To the extent the allegations of Paragraph 98 relate to entities other than
14

15          Defendant, they do not require a response from Defendant. To the
16
            extent a response is required to those allegations relating to other
17

18
            entities, Defendant is without knowledge or information sufficient to

19          form a belief as to the truth of the allegations of this paragraph and
20
            therefore denies them. Further, Paragraph 98 sets forth legal conclusions
21

22          to which no response is required. To the extent a response may be
23
            required, however, Defendant denies the allegations of this paragraph
24

25          that relate to it.
26
      99.   To the extent the allegations of Paragraph 99 relate to entities other than
27
            Defendant, they do not require a response from Defendant. To the
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 22
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1
            extent a response is required to those allegations relating to other
2           entities, Defendant is without knowledge or information sufficient to
3
            form a belief as to the truth of the allegations of this paragraph and
4

5           therefore denies them. Further, Paragraph 99 sets forth a legal
6
            conclusion to which no response is required. To the extent a response
7

8           may be required, however, Defendant denies the allegations of this
9
            paragraph that relate to it.
10
      100. To the extent the allegations of Paragraph 100 relate to entities other
11

12          than Defendant, they do not require a response from Defendant. To the
13
            extent a response is required to those allegations relating to other
14

15          entities, Defendant is without knowledge or information sufficient to
16
            form a belief as to the truth of the allegations of this paragraph and
17

18
            therefore denies them. Further, Paragraph 100 sets forth a legal

19          conclusion to which no response is required. To the extent a response
20
            may be required, however, Defendant denies the allegations of this
21

22          paragraph that relate to it.
23
      101. Paragraph 101 sets forth a legal conclusion to which no response is
24

25          required. To the extent a response may be required, however, Defendant
26
            denies the allegations of this paragraph.
27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 23
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1
                             FIFTH CAUSE OF ACTION
2           Tortious Interference with Prospective Economic Advantage
3
                                   (Against Heredia)
4

5     102. Defendant repeats and incorporates by reference its response to all
6
            previous paragraphs in response to this paragraph.
7

8     103. Defendant is without knowledge or information sufficient to form a
9
            belief as to the truth of the allegations of this paragraph and therefore
10
            denies them.
11

12    104. Defendant is without knowledge or information sufficient to form a
13
            belief as to the truth of the allegations of this paragraph and therefore
14

15          denies them.
16
      105. Defendant is without knowledge or information sufficient to form a
17

18
            belief as to the truth of the allegations of this paragraph and therefore

19          denies them.
20
      106. Defendant is without knowledge or information sufficient to form a
21

22          belief as to the truth of the allegations of this paragraph and therefore
23
            denies them.
24

25    107. Defendant is without knowledge or information sufficient to form a
26
            belief as to the truth of the allegations of this paragraph and therefore
27
            denies them.
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 24
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1
      108. Paragraph 108 sets forth a legal conclusion to which no response is
2           required. To the extent a response may be required, however, Defendant
3
            is without knowledge or information sufficient to form a belief as to the
4

5           truth of the allegations of this paragraph and therefore denies them.
6
      109. Paragraph 109 sets forth a legal conclusion to which no response is
7

8           required. To the extent a response may be required, however, Defendant
9
            is without knowledge or information sufficient to form a belief as to the
10
            truth of the allegations of this paragraph and therefore denies them.
11

12                          SIXTH CAUSE OF ACTION
13
                Violation of the Muhammad Ali Boxing Reform Act
14

15                             (Against All Defendants)
16
      110. Defendant repeats and incorporates by reference its response to all
17

18
            previous paragraphs in response to this paragraph.

19    111. Paragraph 111 contains no allegations to which a response is required.
20
            To the extent a response may be required, however, Defendant is
21

22          without knowledge or information sufficient to form a belief as to the
23
            truth of the allegations of this paragraph and therefore denies them.
24

25    112. Paragraph 112 contains no allegations to which a response is required.
26
            To the extent a response may be required, however, Defendant is
27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 25
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1
            without knowledge or information sufficient to form a belief as to the
2           truth of the allegations of this paragraph and therefore denies them.
3
      113. Sentences 1 and 2 of Paragraph 113 set forth legal conclusions to which
4

5           no response is required. To the extent a response may be required,
6
            however, Defendant is without knowledge or information sufficient to
7

8           form a belief as to the truth of the allegations of these first two
9
            sentences of this paragraph and therefore denies them. As to the
10
            remaining sentences of the paragraph, Defendant is without knowledge
11

12          or information sufficient to form a belief as to the truth of the
13
            allegations of this paragraph and therefore denies them.
14

15    114. Defendant is without knowledge or information sufficient to form a
16
            belief as to the truth of the allegations of this paragraph and therefore
17

18
            denies them.

19    115. Paragraph 115 sets forth legal conclusions to which no response is
20
            required. To the extent a response may be required, however, Defendant
21

22          is without knowledge or information sufficient to form a belief as to the
23
            truth of the allegations of this paragraph and therefore denies them.
24

25    116. Paragraph 116 sets forth a legal conclusion to which no response is
26
            required. To the extent a response may be required, however, Defendant
27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 26
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1
            is without knowledge or information sufficient to form a belief as to the
2           truth of the allegations of this paragraph and therefore denies them.
3
                           SEVENTH CAUSE OF ACTION
4

5                                   Quantum Meruit
6
                                (Against All Defendants)
7

8     117. Defendant repeats and incorporates by reference its response to all
9
            previous paragraphs in response to this paragraph.
10
      118. To the extent the allegations of Paragraph 118, including subparagraphs,
11

12          relate to entities other than Defendant, they do not require a response
13
            from Defendant. To the extent a response is required to those allegations
14

15          relating to other entities, Defendant is without knowledge or information
16
            sufficient to form a belief as to the truth of the allegations of this
17

18
            paragraph and therefore denies them. Defendant denies the allegations of

19          Paragraph 118 that relate to it.
20
        118a. Defendant is without knowledge or information sufficient to form a
21

22            belief as to the truth of the allegations of this subparagraph and
23
              therefore denies them.
24

25      118b. To the extent the allegations of Subparagraph 118b relate to entities
26
              other than Defendant, it does not require a response from Defendant.
27
              To the extent a response is required to those allegations relating to
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 27
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1
              other entities, Defendant is without knowledge or information sufficient
2             to form a belief as to the truth of the allegations of this paragraph and
3
              therefore denies them. Defendant denies the allegations of
4

5             Subparagraph 118b that relate to it.
6
       118c. Defendant is without knowledge or information sufficient to form a
7

8             belief as to the truth of the allegations of this subparagraph and
9
              therefore denies them.
10
      119. To the extent the allegations of Paragraph 119 relate to entities other
11

12          than Defendant, they do not require a response from Defendant. To the
13
            extent a response is required to those allegations relating to other
14

15          entities, Defendant is without knowledge or information sufficient to
16
            form a belief as to the truth of the allegations of this paragraph and
17

18
            therefore denies them. Defendant denies the allegations of this

19          paragraph that relate to it.
20
      120. To the extent the allegations of Paragraph 120 relate to entities other
21

22          than Defendant, they do not require a response from Defendant. To the
23
            extent a response is required to those allegations relating to other
24

25          entities, Defendant is without knowledge or information sufficient to
26
            form a belief as to the truth of the allegations of this paragraph and
27
            therefore denies them. Further, Paragraph 120 sets forth legal
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 28
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1
            conclusions to which no response is required. To the extent a response
2           may be required, however, Defendant denies the allegations of this
3
            paragraph that relate to it.
4

5     121. To the extent the allegations of Paragraph 121, including subparagraphs,
6
            relate to individuals other than Defendant, they do not require a
7

8           response from Defendant. To the extent a response is required to those
9
            allegations relating to other entities, Defendant is without knowledge or
10
            information sufficient to form a belief as to the truth of the allegations
11

12          of this paragraph and therefore denies them. Further, Paragraph 121 sets
13
            forth a legal conclusion to which no response is required. To the extent
14

15          a response may be required, however, Defendant denies the allegations
16
            of this paragraph that relate to it.
17

18
                            EIGHTH CAUSE OF ACTION

19                                         Accounting
20
                                (Against All Defendants)
21

22    122. Defendant repeats and incorporates by reference its response to all
23
            previous paragraphs in response to this paragraph.
24

25    123. To the extent the allegations of Paragraph 123 relate to entities other
26
            than Defendant, they do not require a response from Defendant. To the
27
            extent a response is required to those allegations relating to other
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 29
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1
            entities, Defendant is without knowledge or information sufficient to
2           form a belief as to the truth of the allegations of this paragraph and
3
            therefore denies them. Further, Paragraph 123 sets forth a legal
4

5           conclusion to which no response is required. To the extent a response
6
            may be required, however, Defendant denies the allegations of this
7

8           paragraph that relate to it.
9
      124. To the extent the allegations of Paragraph 124 relate to entities other
10
            than Defendant, they do not require a response from Defendant. To the
11

12          extent a response is required to those allegations relating to other
13
            entities, Defendant is without knowledge or information sufficient to
14

15          form a belief as to the truth of the allegations of this paragraph and
16
            therefore denies them. As to Defendant, Defendant is without
17

18
            knowledge or information sufficient to form a belief as to the truth of

19          the allegations of this paragraph and therefore denies them.
20
      125. Defendant is without knowledge or information sufficient to form a
21

22          belief as to the truth of the allegations of this paragraph and therefore
23
            denies them.
24

25    126. To the extent the allegations of Paragraph 126 relate to entities other
26
            than Defendant, they do not require a response from Defendant. To the
27
            extent a response is required to those allegations relating to other
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 30
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1
            entities, Defendant is without knowledge or information sufficient to
2           form a belief as to the truth of the allegations of this paragraph and
3
            therefore denies them. Defendant denies the remaining allegations of
4

5           this paragraph.
6
      127. Any allegations not specifically admitted are denied.
7

8                              ADDITIONAL DEFENSES
9
      128. Plaintiff’s claims are barred, in whole or in part, by his failure to join a
10
            necessary party.
11

12    129. Plaintiff’s claims are barred, in whole or in part, by his own prior
13
            wrongful, negligent, or illegal acts or omissions directed at Defendant.
14

15    130. Plaintiff’s own negligent acts and omissions solely caused the injuries
16
            and damages of which he complains, and thus he cannot recover damages
17

18
            against Defendant.

19    131. Plaintiff’s claims are barred, in whole or in part, by the defense of
20
            unclean hands.
21

22    132. Plaintiff’s claims are barred, in whole or in part, by the fact that the
23
            actions alleged to have been taken by Defendant were not the proximate
24

25          cause of any injury to Plaintiff.
26
      133. Plaintiff’s claims are barred, in whole or in part, by the applicable
27
            statutes of limitation.
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 31
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1
      134. Plaintiffs’ claims are barred by a binding decision by an arbitrator.
2     135. Defendant specifically reserves the right to assert all other defenses, not
3
            currently known, which he may learn through discovery.
4

5                                COUNTERCLAIMS
6
      136. Counterclaim Plaintiff Heredia Boxing Management (“HBM”) hereby
7

8           alleges against Counterclaim Defendant Joseph P. Diaz Jr. (“Diaz”) Diaz
9
            as follows:
10
                             NATURE OF THE ACTION
11

12    137. This is an action sounding in abuse of process, defamation, and request
13
            for an accounting. Now that discovery in this matter has closed, it has
14

15          become apparent that, contrary to Diaz’s allegations, Diaz owes HBM
16
            money. Diaz knew or should have known this, as his document
17

18
            production confirms that a balance is owned to HBM. HBM loaned

19          Diaz money that Diaz has not yet fully paid back. Instead, Diaz has
20
            maliciously prosecuted this action against HBM, knowing it to be false
21

22          and only for purposes of harassment. In light of Diaz’s discovery, which
23
            establishes that no member or representative took advantage of Diaz,
24

25          nor failed to pay Diaz sums he was purportedly owed, it is obvious from
26
            Diaz’s own documents that his statements to the media to the contrary
27
            are defamatory against Ralph and Moses Heredia. As HBM exists solely
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 32
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1
            as a corporate entity in support of the Heredias’ efforts to provide
2           management and other services to professional boxers, and the Heredias
3
            are the sole operators of HBM, the defamatory statements made by Diaz
4

5           regarding the Heredias also damaged the business reputation of HBM,
6
            decreased business opportunities for HBM, and resulted in lost earnings
7

8           and profits.
9
                           JURISDICTION AND VENUE
10
      138. Diaz has asserted that jurisdiction is proper in this Court because Diaz’s
11

12          Muhammad Ali Boxing Reform Act claim arises under federal law, 15
13
            U.S.C. § 6301, et seq., and that the Court has jurisdiction over that claim
14

15          pursuant to 28 U.S.C. § 1331. Diaz’s additional claims are brought
16
            pursuant to the Court’s supplemental jurisdiction, 28 U.S.C. § 1367(a)
17

18
            Stipulating solely for the purposes of HBM’s counterclaims that Diaz’s

19          Muhammad Ali Boxing Reform Act claim is jurisdictionally proper,
20
            HBM’s counterclaims are brought pursuant to the Court’s supplemental
21

22          jurisdiction, 28 U.S.C. § 1367(a) as so related to claims in the action
23
            within such original jurisdiction that they form part of the same case or
24

25          controversy under Article III of the United States Constitution.
26
      139. Diaz is subject to the Court’s personal jurisdiction because the
27
            counterclaims arise out of the same actions or occurrences that are the
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 33
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1
            subject of his claims, and because he consented to personal jurisdiction in
2           this Court by prosecuting his complaint in this Court.
3
      140. Venue for the counterclaims is proper in this District because Diaz
4

5           resides in this District and HBM is headquartered in this District.
6
                                        PARTIES
7

8     141. According to his Second Amended Complaint, plaintiff and counterclaim
9
            defendant Joseph Diaz, Jr. (“Diaz”) is an individual residing in San
10
            Bernardino County, California.
11

12    142. Defendant and counterclaim plaintiff Heredia Boxing Management
13
            (“HBM”) is a California corporation headquartered in La Verne,
14

15          California.
16
                             FACTUAL ALLEGATIONS
17

18
      143. Heredia and Diaz’s relationship spans almost a decade of fiercely loyal

19          and dedicated management that culminated in a World Championship.
20
            During the duration of the relationship the Heredias were
21

22          extraordinarily successful in managing both Diaz’s professional career
23
            and containing his increasingly poor judgment and choices which was
24

25          the primary focus of Ralph Heredia efforts to contain. These demons
26
            unfortunately encompass various lawful and unlawful personal choices
27
            that interfered in every realm of his life, personal and professional.
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 34
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1
            Heredia, recognizing Diaz’s potential as a person and a fighter,
2           committed every resource he could muster to assist Diaz so that he
3
            could convert his talent into personal and professional success. Diaz
4

5           would typically reach out to Heredia by text message, notifying Heredia
6
            that he needed money. [Exhibit 1]. (Heredia’s allegations that refer to,
7

8           e.g., “significant” amounts of money, “six-figure advances,” or “poor
9
            personal choices” are non-specifically framed in observance of this
10
            Court’s November 2021 Order (ECF 80) granting Diaz’s request to file
11

12          certain information under seal. While Heredia contemplates moving to
13
            unseal that information since Diaz has put his conduct squarely at issue
14

15          herein by his choices inside and outside this litigation through the
16
            media, Heredia has observed the Order. Heredia’s underlying evidence,
17

18
            all of which is also in Diaz’s possession, is specific and relevant to his

19          claim.
20

21

22

23

24

25

26

27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 35
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            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 36
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23
      144. In 2017, Diaz embarked on a journey of self-destruction and its first stop
24

25          was his departure from his parents’ residence – a place that provided
26
            structure and supervision in parallel with Heredia’s watchful eye. Within
27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 38
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1
            a year of leaving his parents’ residence, Diaz’s demons established a
2           foothold and the darkness of those demons revealed themselves.
3
      145. During 2018, Diaz’s poor personal choices resulted in his fully paid-for
4

5           Mercedes being repossessed on three separate occasions – the last time
6
            resulting in the costs of recovery so significant that he was financially
7

8           unable to recover it. Heredia, after the first repossession, had great
9
            concern and made inquiry. At this time Diaz confessed that he had been
10
            obtaining loans funded by “Cash Cow” and “Title Loan.” These loans
11

12          carried with them repayment interest rates on the order of 35%. Heredia
13
            counseled Diaz against these loans and provided financial assistance to
14

15          get the car back into Diaz’s possession in the hopes that Diaz would get
16
            himself back on track. This ended with the final repossession. Heredia
17

18
            then persuaded Diaz to stop utilizing these sorts of lenders and Heredia

19          would attempt to work out his financial concerns sans interest.
20
      146. Instead of being appreciative and working with the financial advisor
21

22          Heredia helped retain for Diaz, Diaz’s vices became even more
23
            entrenched, and Diaz was without money again within weeks of
24

25          receiving his purse for a World Title Challenge against Gary Russell.
26
            Heredia sought counseling and provided financial assistance to Diaz
27
            with his bills to mitigate Diaz’s poor judgments and provide a path for
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 39
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1
            him to focus on his boxing career—efforts that were largely successful
2           while Heredia was at the helm. This contrasts with the public demise of
3
            Diaz’s conduct and professional competence since his break with the
4

5           Heredias.
6

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            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 40
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            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 41
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            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 42
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            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 43
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1
                           Arbitration Award Against Diaz
2     147. Andrew Foster, Executive Officer for the California State Athletic
3
            Commission (“Commission”) conducted an arbitration which
4

5           encompassed most of Diaz’s present and false allegations pursuant to the
6
            language of a boxer-manager contract and the Professional Boxing Rules
7

8           of California, which mandate arbitration between boxer and manager, see
9
            Cal. Code Regs. tit. 4, § 221 (“All disputes between the parties to the
10
            contract, including the validity of the contract [which in this case
11

12          includes, inter alia, the alleged dispute over the percentage received by
13
            Moses, HBM, and Ralph], shall be arbitrated pursuant to the provisions
14

15          of the contract.”).
16
      148. On February 23, 2017, Diaz and Mr. Moses Heredia signed a Boxer-
17

18
            Manager Contract. Mr. Larry Ervin from the Commission oversaw the

19          signing of the contract in accordance with the applicable Rules
20
            promulgated by the Commission. Cal. Code Regs. tit. 4, § 222. The
21

22          Commission approved the Boxer-Manager Contract the very next day on
23
            February 24, 2017.
24

25    149. Under this Boxer-Manager Contract, Diaz fought nine bouts from
26
            February 23, 2017 through June 10, 2021. Through the keen management
27
            provided, Diaz flourished and on January 30, 2020, Diaz became the
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 44
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1
            International Boxing Federation (IBF) super featherweight world
2           champion by defeating Tevin Farmer.
3
      150. After Diaz became a world champion, MTK Global Sports Management,
4

5           LLC (“MTK”) (also doing business as “Global Promotion Management
6
            LTD”), an unlicensed rival promotion and boxing management company,
7

8           reached out to Diaz and offered him an advance of $100,000.00 on his
9
            next purse.
10
      151. The controversy underpinning the instant matter arose on or about
11

12          August 12, 2020, when Diaz announced that he had ended his successful
13
            years long relationship with the Heredias by sending Heredia a text and
14

15          then publicly announcing that he had signed an “agreement” with MTK.
16
            Diaz then stopped communicating with Heredia.
17

18
      152. Diaz’s departure and subsequent actions resulted in numerous breaches

19          of the Boxer-Manager Contract. On or about August 20, 2020, Mr.
20
            Moses Heredia timely filed a request to arbitrate the contract issues
21

22          before the Commission. Andrew Foster, the Commission’s Executive
23
            Officer, conducted an arbitration hearing on June 10, 2021. Mr. Foster
24

25          found the contract valid, and that Diaz had breached it. On July 9, 2021,
26
            he ordered an award in favor of Mr. Moses Heredia, directing that Diaz
27
            pay Mr. Moses Heredia $162,000.00, constituting the appropriate
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 45
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1
            management fee Mr. Moses Heredia would have earned from Mr. Diaz’s
2           two bouts in which he participated after breaching his boxer-manager
3
            contract. The Commission also explicitly found that the Heredias did a
4

5           good job for Diaz, and that Diaz’s various and false allegations including
6
            that Diaz had no idea about Mr. Moses Heredia’s role in the relationship,
7

8           were without merit.
9
     Diaz Breaches the Boxer-Manager Contract by Signing with MTK, Then is
10
     Led by His Counsel in Lying Out of Court and In Court So As To Negate the
11

12                                Heredias’ Response
13
       153. As set forth above, after winning the world championship from Tevin
14

15          Farmer in January 2020, Diaz was approached by MTK to become one
16
            of their boxers.
17

18
       154. Upon information and belief, MTK retained VGC, LLC as counsel on

19          Diaz’s behalf to represent him in the anticipated breakup with the
20
            Heredias. MTK maintained a notorious relationship for “stealing” away
21

22          fighters from existing managers in Europe sans consequences.
23
       155. Upon information and belief, MTK sought to expand their roster of
24

25          fighters for the first time by pursuing U.S.-based fighters, and Diaz was
26
            one of the first U.S. boxers that was signed.
27

28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 46
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1
      156. Further upon information and belief, MTK targeted Diaz not only
2           because he was a World Champion, but also because they knew that his
3
            money management and other problems made him vulnerable to their
4

5           treacherous entreaties.
6
      157. MTK was formed and run by Daniel Kinahan, an Irish national and
7

8           suspected crime boss. According to the United States Department of the
9
            Treasury, Daniel Kinahan is a reputed narco-terrorist, and is presently on
10
            the run from international authorities relating to, inter alia, money
11

12          laundering, murder, and drug distribution.
13

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            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 47
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      158. Upon information and belief, VGC and Diaz implemented a strategy
24

25          whereby Diaz could breach his contract with Moses Heredia and
26
            conterminously wage asymmetrical “warfare” against the Heredias’
27

28          reputation in the boxing community through blatant falsehoods

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 48
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1
            promulgated in this frivolous lawsuit and continuous assaults in the
2           press. Note that Diaz is complaining about the distraction of the instant
3
            lawsuit that he is a Plaintiff in, has filed three versions of his complaint,
4

5           and through his own words admits that he owes money to Heredia
6
            approximately seven months after his departure from the Heredia Team
7

8           https://theathletic.com/2436658/2021/03/09/joseph-diaz-jr-lost-his-title-
            and-his-car-now-hes-fighting-to-get-it-all-back/
9

10    159. Diaz’s declaration under oath, submitted in support of the arbitration
11
            proceedings, accuses Ralph and Moses Heredia of stealing. Notably,
12

13          however, his allegations are all couched in language reflecting that his
14
            statements are made under the advice and direction of counsel (“my
15
            attorneys have informed me…;” “my attorneys have also informed
16

17          me…;” “prior to engaging my attorneys, I did not understand the legal
18
            and practical significance…”). It has become apparent that Diaz was
19

20          instructed to make these accusations not because they were true but
21
            because they supported the concocted legal strategy, one designed to
22

23
            extort, demoralize, and disparage the Heredias into submission and to

24          walk away from the Boxer-Management Contract and provide Diaz cover
25
            so that he could avoid the consequences of his blatant breach (i.e., his
26

27          contract with MTK) and not have to pay back his debts – a modern day
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 49
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1
            welch scam of titanic proportions. The plan was ambitious; however, its
2           fundamental flaw is that it was premised upon lies.
3
      160. To understand how insidious the scheme evidenced in this litigation is, it
4

5           requires an understanding of the interplay between the facts of the case
6
            and the unique culture of the world of boxing. The boxing industry is
7

8           heavily reliant on reputation and performance. Boxers, managers, and
9
            promoters each play a distinct role within the industry, and each party’s
10
            ability to trust and respect the others is essential to a successful boxing
11

12          enterprise. A manager “stealing” money from their fighter is a
13
            professional “death sentence,” and understandably so: no fighter wants to
14

15          work with a manager they believe will take advantage of them. This
16
            sentiment is consistent with the public policy protecting fighters from
17

18
            predatory managers, as reflected in both state and federal regulations

19          governing boxing.
20
      161. Through this lens, it becomes clear that Diaz’s allegations regarding the
21

22          Heredias, which he knew to be false, were made for the sole purpose of
23
            harming Heredia’s reputation and preventing him from securing other
24

25          fighters in the industry. This effort has been successful in part resulting
26
            in millions of dollars in damages in contracts over the past year. For
27
            example, Bob Arum, the number one power broker in the boxing industry
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 50
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1
            parroted the lies pushed forward by the fighter and his counsel, VGC,
2           having no idea regarding the facts of the case.        Arum himself is
3
            accountable for these defamatory statements. His mistakes are that he
4

5           believed Diaz and was unwilling to figure out the truth - the harm still
6
            occurred.
7

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      162. At the time Diaz breached his Boxer-Manager Contract, followed
21

22          shortly thereafter by his defamatory statements, Mr. Moses Heredia was
23
            in negotiations with several potential international Olympians, world
24

25          champions, and amateur boxers that were free agents with no contract
26
            with any manager. Diaz’s defamatory statements have tarnished the
27

28
            Heredias’ reputations to the point that the international boxing world

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 51
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1
            and boxing media discourage anyone in the boxing industry from doing
2           business with the Heredias. The trust and reputation that took fourteen
3
            years to build was defiled by Diaz’s false and feckless statements as
4

5           well as his unlawful contract with MTK. Moreover, it has heavily
6
            damaged several potential and current relationships, causing the
7

8           Heredias emotional stress and financial hardship.
9
        Statements from the Arbitration Transcripts Show Diaz’s Knowing
10
                                      Mendacity
11

12    163. During the arbitration action for Diaz’s breach of the Management
13
            Contract, the Commission heard and considered Diaz’s various
14

15          allegations and found them to be without merit. On the contrary – the
16
            Commission found that the Heredias did a fantastic job for Diaz.
17

18
      164. The head of the Commission held that the Heredias served Diaz well,

19          found that Diaz was aware of Ralph Heredia’s role in the management
20
            relationship, ruled that the 2017 Management Contract was valid, and
21

22          noted that Diaz had admitted to owing Heredia money – not the other
23
            way around.
24

25    165. Indeed, one of the arguments made by Diaz’s counsel during the
26
            arbitration was that Diaz owed so much money to Heredia that it could
27
            be viewed as Heredia having “leverage” over him, despite the fact that
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 52
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            he was not the licensed manager. The Commission rejected this
2           argument.
3
      166. It was clear in the arbitration record that the zero-interest advances from
4

5           Heredia helped Diaz to survive while trying to manage his issues. The
6
            following statements made under oath during the arbitration highlight
7

8           these facts, and reinforce the arbitration conclusions:
9
                      MR. FOSTER:· I think -- I think that Mr. Heredia has done
10                    a good job managing Mr. Diaz up to this point. I think that.
11
                      …
12

13                    MR. FOSTER:· They had a good run and like I've said
                      before, I thought Mr. Heredia did a good job for Mr. Diaz.
14
                      Mr. Diaz doesn't want to work with him anymore.
15
                      …
16

17                    MR. FOSTER:· You're right.· Look, I already have my --
18
                      I think the -- I already said this on the record. I think the
                      Heredias did a good job for Mr. Diaz.
19

20                    …
21
                      DIAZ: Well, I needed some money because I wasn't
22                    making as much -- that's why I was always on Ralph's 14·
23
                      ass and always telling him that I wanted to get paid more.

24                    …
25
                      DIAZ:· I did my own accounting.· I wrote all this down.
26

27                    QUESTION: But ultimately the way you were going to
                      pay for this was to take it out of your next purse; is that
28
                      correct? DIAZ: That's correct.
            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 53
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1
                    QUESTION: And the 30 percent was to negotiate through
2                   your future fights to take care of these debts that you 22·
3                   wanted to resolve or investments if they were that.
4
                    DIAZ: Yes.
5

6
                    QUESTION: And was that a typical course of dealing
                    over your relationship with him when you were in a
7                   money crunch you would come to Ralph to ask him for
8                   money?
9
                    DIAZ: Yeah.· Because he told me not to go anywhere
10                  else.· He said he would take care of it for me.
11
                    QUESTION: And did he take care of you?
12

13                  DIAZ: Yeah, he took care of me.· He gave me those
                    loans and I had to pay him back.· Yeah, he did.
14

15                  …
16
                    MR. FOSTER:· Mr. Greeley, I mean, by Mr. Diaz's own
17                  admission they've loaned him some money over the
18
                    years, I mean he -- they got that.

19                  …
20
                    MR. GARDNER:· I'm curious about the fact is that both
21
                    parties to this contract represented to the commission
22                  that no other individuals were -- had a hand IN the
23
                    management and yet both parties knew and both parties
                    were fine with it until this relationship soured.
24

25                  …
26

27                  MR. GREELY: Diaz owed Ralph quite a bit of money…
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 54
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1
                  The Arbitration Decision Favored The Heredias
2     167. The Commission issued the following findings on July 9, 2021:
3
               • The Contract entered into by Boxer and Manager on February 23,
4
                 2017, is a valid and enforceable contract.
5

6              • “The Contract Is Not Invalidated Because of Ralph Heredia’s
                 Relationship with Boxer.” Boxer also asks the Commission to void
7
                 the Contract because of Ralph Heredia’s involvement in Boxer’s
8                career. The reality is that if Ralph Heredia’s role in the
                 management of Boxer’s career warranted disclosure to the
9
                 Commission, both parties failed to make that disclosure because
10               both parties were well aware of that role. Furthermore, if as Boxer
11
                 claims, he has always considered Ralph Heredia to be his true
                 manager, it is disconcerting that Boxer would be willing to submit
12               for Commission approval a Boxer Manager Contract that
13               concealed information or contained misleading information about
                 the true parties. Boxer cannot now use Ralph Heredia’s
14
                 participation in Manager’s activities to his advantage when he
15               undoubtedly shared in the parties’ mutual obligation to provide
16
                 truthful representations to Commission. 3 See Civil Code § 3517
                 (“No one can take advantage of his own wrong.”); Moriarty v.
17               Carlson (1960) 184 Cal.App.2d 51, 55; Camp v. Jeffer, Mangels,
18               Butler & Marmaro (1995) 35 Cal.App.4th 620, 638; Kendall-
                 Jackson Winery, Ltd. V. Superior Court (1999) 76 Cal.App.4th
19
                 970, 979.
20

21
      168. The Heredias were singularly responsible for Diaz’s successful rise to a
22

23          world championship level fighter notwithstanding his long history of
24          serious misconduct in many areas. They were patient and tireless in
25
            redirecting his unlawful and immoral actions back toward a focus on
26

27          succeeding as a championship-level boxer. Diaz’s own decisions
28

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 55
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1
            frequently resulted in him having no money to pay bills or various other
2           living expenses.
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            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 56
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            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 57
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            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 58
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22    169. On September 9, 2019, Diaz sent an email entitled “JoJo Diaz Loan
23
            Proposal” to Ralph Heredia in advance of an upcoming fight scheduled
24

25          and performed in Mexicali, Mexico for September 21 against Jesus
26
            Cuadro. In the email, Diaz offered to increase the management fee owed
27

28
            to Moses to 30%, in exchange for a six-figure advance payment to Diaz

            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 59
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1
            so he could pay off debts owed to others, unpaid taxes to the IRS, rent,
2           phone bills, and material purchases such as a new Rolex and Porsche.
3
            Diaz also acknowledged and reconfirmed in this email that he owed a
4

5           significant amount in previous loans made by Heredia, and that he would
6
            pay back those loans with this new money. Additionally, Diaz wanted to
7

8           have in the high five figures in his bank account for “spending money.”
9

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            DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
                                               COMPLAINT AND COUNTERCLAIMS- 60
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1
                  This request was not the first time, nor the last time Diaz asked for
2                 money in exchange for a percentage of his future purses but is an
3
                  example of how Diaz would dig himself into a financially precarious
4

5                 position and come to the Heredias looking to be bailed out. Heredia had
6
                  previously tried to convince Diaz to work out his personal problems and
7

8                 utilize the services of his financial provider as discussed supra, to no
9
                  avail.
10
         170. Diaz brought up the September 9 “Loan Proposal” again, despite earning
11

12                monies from a fight in Mexicali, on September 21, 2019. The Heredias
13
                  told him that Moses was working tirelessly to try and get him a world
14

15                title opportunity against Tevin Farmer and insisted that he not sell any
16
                  percentages on his future to the Heredias or to anyone else.
17

18
         171. When Diaz mentioned that he would not be able to train for the Farmer

19                bout properly without a car to get around, Heredia told him that they
20
                  would try to come up with a solution regarding a car, but that Diaz
21

22                needed to be realistic on whether he could afford a new Porsche and the
23
                  high insurance rates that come with it.1 Additionally, Heredia was
24

25

26

27   1
      In addition to the above-average premium costs associated with insuring a luxury sport vehicle, such as a Porsche,
     Diaz’s driving record, including behavior the description of which is currently under seal but will be brought forth
28   fully at trial, significantly increased the costs of his insurance premiums.


     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 62
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1
               incentivized to resolve the car issue because he had become Diaz’s
2              “chauffer service” and “Uber coordinator.”
3

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     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 63
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        172. In October 2019, Diaz approached the Heredias and indicated that he

20             would “agree” to get a used car instead of a new car and something much
21
               less expensive than a Porsche. Diaz then requested that Heredia pay for
22

23             the car outright, and Diaz pay back the money for the car, and all other
24
               previous debts he owed, from the proceeds of the Tevin Farmer fight – to
25

26             include Heredia retaining title to the vehicle given Diaz’s financial
27
               irresponsibility and increasing indebtedness.
28


     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 64
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1
        173. On October 18, 2019, Heredia relented and purchased a used 2016 Lexus
2              RC350 for Diaz’s use, at a cost of $41,185.24. As discussed, Ralph
3
               Heredia remained a lienholder on the title of the vehicle to protect his
4

5              interests. The other issue of concern was the extraordinary vehicle
6
               insurance burden Diaz was confronting given his publicly known driving
7

8              history. The insurance debt was also to be covered by Heredia and was.
9
               Heredia paid the insurance in a lump sum through February 2020 and
10
               then began to make monthly payments as described below.
11

12      174. On January 30, 2020, Diaz defeated Tevin Farmer and became the
13
               International Boxing Federation World Super Featherweight Champion.
14

15             On the night of the Farmer title bout, Diaz gave Heredia a list of people
16
               that he had to pay back loans to and asked if he could pay them back
17

18
               from the proceeds of his fight earnings. Days after the Farmer bout,

19             Ralph Heredia began receiving texts and calls from various other people
20
               that were not on Diaz’s list of obligations, all claiming that Diaz had
21

22             borrowed money from them and promised to pay them after the Farmer
23
               fight. Diaz told Ralph Heredia that he will pay back some of the people
24

25             and make other people wait.
26
        175. For example, Ralph Heredia received a call from a Mark St. Pierre. Mr.
27
               St. Pierre said that he was introduced to Diaz by Scott Tetrault, an
28


     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 65
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1
               employee at Golden Boy, and loaned him $6,500 with Diaz’s promise to
2              pay him after the Farmer bout. Mr. St. Pierre was very upset, and others
3
               associated with Golden Boy had advanced Diaz money before the Farmer
4

5              fight and it was becoming a problem because he failed to repay these
6
               debts. When Heredia confronted Diaz about paying back Mr. St. Pierre,
7

8              Diaz became angry and said he did not want to pay Mr. St. Pierre.
9
        176. Heredia sent $2,000.00 to Mr. St. Pierre to mitigate the situation. Golden
10
               Boy subsequently deducted $22,000.00 from Diaz’s purse for advances
11

12             they made to him. Notably, neither Diaz nor anyone at Golden Boy had
13
               told Heredia about the advances, preferring instead to undermine the
14

15             Heredias’ tireless efforts to focus Diaz on his boxing career and help
16
               mitigate his destabilizing personal conduct.
17

18
        177. In February 2020, after the Heredias returned from Miami, Heredia

19             scheduled a meeting with Diaz to go over all of the accounting for the
20
               various and extensive debts Diaz owed to them. Diaz agreed with
21

22             Heredia’s assessment, and understood all the accounting, but pleaded
23
               with Heredia to leave a part of his debt, specifically $25,000.00,
24

25             outstanding until his next bout because he still owed other people money.
26
               Diaz also stated that he wanted to pay off his IRS liens and other bank
27
               notes.
28


     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 66
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        178. As discussed, Diaz agreed that the title of the Lexus would be left in
2              Ralph Heredia’s name until after his next bout, when he would pay the
3
               remaining balance on the car in full. Diaz also asked Heredia to wire
4

5              Mike Powers a loan repayment for $12,500.00.
6
        179. Within ten days after the Farmer bout, Diaz was once again without
7

8              money which he partied away. Diaz undertook another round of begging
9
               for more money from Heredia. Diaz admitted that he essentially threw
10
               away the entirety of his earnings from the Farmer bout in less than two
11

12             weeks. Unbeknownst to Heredia, Diaz informed Heredia after the
13
               Farmer fight that immediately prior to the fight, Diaz had begun
14

15             negotiations with Mike Powers for a six-figure advance on his next bout
16
               in exchange for points. Diaz sent Heredia a text from Mr. Powers
17

18
               regarding the advance. Diaz had borrowed money from Mr. Powers in

19             the past (including $12,500.00 before the Farmer bout), and contrary to
20
               Heredia’s admonition that Diaz needed to get his personal and
21

22             professional house in order, Diaz continued to sell points on his next
23
               fights in exchange for immediate cash.
24

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     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 67
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        180. Around the same time as this agreement was reached, Diaz was
22

23             repeatedly posting on social media various offers to bet large amounts of
24
               money on boxing matches; the Heredias became concerned once more
25

26             that Diaz’s bad choices were further depressing his financial situation.
27

28


     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 68
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1
               Diaz then asked if the Heredias could match Mr. Powers’ offered
2              advance in exchange for higher management fees and interest.
3
        181. After the Farmer fight Heredia stressed to Diaz that he was now a World
4

5              Champion and should not be mortgaging his future earnings to other
6
               people, particularly if he was still pursuing the same set of poor personal
7

8              choices. This was in response to Diaz threatening to get additional funds
9
               from other persons because he had gambled all of his purse within two
10
               weeks of winning the world title.
11

12      182. In an effort to help this young man overcome the greatest threat to his
13
               success – himself – Heredia finally agreed to provide Diaz a $10,000.00
14

15             per month advance, which would become payable after his next fight,
16
               with no interest. In exchange Heredia imposed strict conduct terms upon
17

18
               Diaz as a condition of providing him with even more cash. The terms

19             included that Diaz would keep his weight under 145 pounds, submit to
20
               regular testing, and attend specified meetings. On February 21, 2020,
21

22             Heredia gave Diaz $4,000.00, with a promise of a further $6,000.00 to
23
               follow on March 1, 2020, which was made. Heredia also fronted
24

25             $55,000.00 for Diaz to qualify for housing and a repayment of
26
               $49,000.00 from Diaz shortly thereafter, leaving $6,000.00 for Diaz to
27
               use in accordance with this agreement.
28


     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 69
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1
        183. The Heredias knew that Diaz often ballooned in weight when he was
2              partying and wanted to make sure he would stay healthy and mentally
3
               undiminished for future fights. The terms imposed upon Diaz as
4

5              conditions of the advances were not only to protect the Heredias’
6
               investment, but to facilitate Diaz’s ability to continue performing as a
7

8              championship-level boxer. This deal was short lived however when
9
               Diaz failed one of his required tests administered by his father, after
10
               Diaz’s participation in a hometown parade celebrating his victory in
11

12             early March 2020. The father, understanding the agreement that had
13
               been entered into between his son and Heredia, immediately forwarded
14

15             the test results to Heredia via text. As soon as Heredia learned of the
16
               failed test, the advanced loan terms were modified to a subsistence level
17

18
               of funding only which is reflected in the accounting sheet.

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     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 70
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        184. Heredia continued providing Diaz with monthly support up until the time
21
               Diaz breached his management agreement with HBM and signed on with
22

23             MTK.
24
        185. The Heredias endeavored, without gratitude or acknowledgement, to
25

26             assist Diaz in the management of his life challenges. After the Tevon
27
               Farmer fight, while the Heredias were providing Diaz additional funding
28


     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 71
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1
                  to manage his living expenses, Diaz was drawn away by the prospect of a
2                 new cash source – MTK. The MTK signing bonus was $100,000.00
3
                  upfront. Apparently, Diaz could not resist the temptation of quick cash.
4

5                 In a short period of time, Diaz abandoned a long-lived
6
                  personal/professional relationship, one which had invested considerable
7

8                 time and resources into Diaz to set him up for success, in exchange for
9
                  the immediate gratification of receiving money which he spent almost
10
                  immediately. At the same time Diaz undertook to falsely accuse the
11

12                Heredias of “stealing” monies that were due to him from his fight
13
                  proceeds.
14

15       186. Familiarity with the world of professional boxing finances renders this
16
                  claim structurally impossible. Diaz himself assigns the proceeds from
17

18
                  any contest.2 Diaz has known from the outset that any accusations that

19                Heredia stole money from him are patently false, yet he has persisted in
20
                  spreading this false narrative both publicly and privately wherever he
21

22                goes, with the cruel intent to harm the Heredias for not simply walking
23
                  away from the investment they made in him.
24

25

26
     2
       This is well-illustrated by Moses Heredia’s case against Diaz in the Superior Court of California, County of Los
27   Angeles, Case No. 22STCP00395, filed for enforcement of the amounts owed by Diaz to HBM pursuant to the
     outcome of the arbitration. Diaz was ordered to pay $162,000.00; while he paid $90,000.00 of this amount, he failed
28   to pay the remaining $72,000.00, despite receiving a $1.8 million purse in a recent fight.


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     COUNTERCLAIM - 72
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1
        187. Diaz has “gotten away” with this scheme up to this point because the
2              Heredias believed, mistakenly, that Diaz would remember all that the
3
               Heredias had done to help grow and support him throughout the years
4

5              and at some point, abandon this misguided path, realize he was in the
6
               wrong, and state so publicly.
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     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 73
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     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 74
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        188. It has become clear, however, that this expectation will never come to
22

23
               pass. Accordingly, as conclusively shown in the litigation discovery

24             process, Diaz’s claims have been a fabrication from the beginning,
25
               designed to devastate the Heredias financially and professionally.
26

27             Throughout this litigation, Diaz dodged depositions and failed to
28
               produce any evidence supporting his allegations (as will be further

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     COUNTERCLAIM - 75
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1
               demonstrated below); with the benefit of hindsight, it becomes clear that
2              his conduct was part of a desperate attempt to protect “the bad lie.”
3
             Additional False Allegations Made Against the Heredias by Diaz
4

5       189. An additional thrust of Diaz’s plan to humiliate and discredit the
6
               Heredias was to damage their relationship with Golden Boy Promotions
7

8              (“GBP”), who served as the promoter for Diaz’s fights. Diaz caused his
9
               counsel to send a letter to GBP containing the following statements:
10

11
               • “We write this letter to address the irresolvable conflict that exists
                 between Golden Boy Promotions (“GBP”) and Diaz as a result of
12               GBP’s inability to perform its contractual obligations to Diaz and its
13               continuous disregard of Diaz’s interests.
               • “GBP then catered to the Heredias (who funneled all their clients to
14
                 GBP) and helped them take advantage of Diaz. This included
15               providing illicit benefits to the Heredias—such as tickets to a high-
16
                 demand fight between Canelo Álvarez and Gennadiy Golovkin in Las
                 Vegas, Nevada.”
17

18      190. These claims were further efforts to harass and intimidate anyone who
19
               did business with the Heredias, intended to further isolate them within the
20
               boxing world.
21

22      191. A fact long known to Diaz and his counsel -- the “infamous” tickets
23
               referenced in the second allegation were validly purchased and paid for:
24

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     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 76
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               This is yet another example of the abusive conduct Diaz and VGC have
12

13             engaged in to further their defamatory campaign against the Heredias.
14
        192. After working through an entire year of discovery, these falsehoods are
15

16             rendered blatantly obvious, and their use to abuse the process manifest.
17
               This lawsuit has been advanced from the start based on pure greed. The
18
               undisputed facts are that the Heredias invested tens of thousands of
19

20             dollars in Diaz’s career; it is Diaz who owes money to the Heredia; and it
21
               is Diaz who has tried to steal those monies through his public statements
22

23             and the abuse of process.
24
        193. Diaz’s complaint has maintained that Heredia owes him money by virtue
25

26
               of “stealing” a percentage of his purse (which was resolved during

27             arbitration), or taking personal property; however, discovery exchanged
28


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     COUNTERCLAIM - 77
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1
               in July 2022 as part of this litigation conclusively establishes that Diaz, in
2              fact, owes money to Heredia. Upon information and belief, based upon
3
               the discovery that has been made available to date, Diaz currently owes
4

5              Heredia not less $48,841.95 for the multiple loans Heredia generously
6
               advanced him during the course of their relationship.
7

8       194. Upon information and belief, the scheme devised by Diaz and VGC was
9
               designed to ruin the reputation of Heredias in the boxing community by
10
               fabricating allegations that Heredia had “stolen” money and property
11

12             from Diaz, thereby damaging the Heredias’ reputation in the boxing
13
               community, impacting recruiting, branding, and negotiations with
14

15             promoters and sponsors. This scheme was not limited to litigation. Diaz
16
               employed further, more public means of pursuing the reputational demise
17

18
               of the Heredias.

19      195. The revelations from the litigation document production establish media
20
               statements made by Diaz falsely impute to Heredia the commission of
21

22             some criminal offense involving moral turpitude, to wit: that Heredia
23
               stole money from him are either deliberately misleading or patently
24

25             untrue, and Diaz should have known (and did, in fact, know) that by
26
               virtue of the documents he possessed. Diaz has knowingly and
27
               intentionally made false and defamatory statements about Heredia to
28


     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 78
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               media outlets, which were then published on-line and available world-
2              wide. The statements have included:
3
        • December 27, 2020: Social media -- “Watch who you are dealing with cause
4

5           a lot of people aren’t what they make themselves out to me” [sic]; and
6
        • February 13, 2021: Interview -- “a lot of people that want to take a part of
7

8           my exposure and talent and make some money off of me because they feel
9
            like they can. I mean these guys are all greedy mother fuckers’ man and its
10

11
            [sic] bullshit”; and
12
        • July 9, 2021: Interview – “for a manager to come in here and try to rob me
13
            and take my money is fucking wrong”; and
14

15      • November 5, 2021: social media -- “Life [sic] been good after I got rid of
16
            shit managers and got advisors & my own lawyers to protect me. To all the
17

18          young fighters that aren’t knowledgeable make sure you have your own
19
            lawyer before signing to any management or promotional company for your
20

21
            best interest.”
22      196. The documents exchanged in discovery during the course of this
23
               litigation further prove that Diaz brought and has been prosecuting his
24

25             complaint in bad faith and has engaged in abuse of process. To date,
26
               Diaz has failed to produce any accounting whatsoever in support of his
27

28             claim that Heredia owes him any money, even a single penny. Nothing

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     COUNTERCLAIM - 79
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1
               Diaz has produced in discovery rebuts the position that it is in fact Diaz
2              who owes money to Heredia.
3
        197. The allegations surrounding the “taking of the vehicle are also false.
4

5              After another incident involving Diaz’s driving behavior, and Diaz’s
6
               announcement that he was no longer going to work with the Heredias,
7

8              Heredia informed Diaz that he needed to pay his bills moving forward.
9
               Predictably, Diaz did not, including his car insurance. After numerous
10
               attempts by both Heredia and the insurance company to resolve this
11

12             with Diaz to no avail, Heredia had to repossess the car to protect his
13
               interests in the vehicle and any liability given that Diaz continued to
14

15             operate the vehicle on a suspended license and in other ways not
16
               compliant with the terms on which Heredia purchased the vehicle .
17

18
               Heredia even approached Ben Lira, Diaz’s trainer, to discuss the return

19             of the vehicle as long as full payment was made to resolve that issue.
20
               These discussions occurred prior to the filing of this action. Diaz
21

22             informed Lira that he rejected any such offer and had “other plans” for
23
               Heredia. We now know what plans he referred to.
24

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     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 80
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     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 81
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18             As a result, upon information and belief, Diaz knowingly filed a
19
               meritless action against Heredia to damage Moses and Ralph Heredia’s
20

21             reputation within the boxing and managerial industry.
22
        198. Consequently, Heredia has been forced, to date, to incur tens of
23

24
               thousands of dollars in legal fees to defend himself against Diaz’s

25             meritless lawsuit and has suffered unrecoverable damage to his
26
               reputation within the boxing industry; he, and by association his brother
27

28             Moses, who serves as the licensed manager, have been thwarted in

     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 82
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1
               attempts to sign promising young talent, despite a record of success in
2              bringing Diaz from Olympic hopeful to world champion.
3
        199. Upon information and belief, the reticence of other boxers to sign with
4

5              the Heredias is directly linked to the reputational harm the Heredias have
6
               suffered as a result of Diaz’s public statements that the Heredias “stole”
7

8              money from him.
9
                           Attempted Extortion of Heredia by Diaz
10
        200. When it became clear that Heredia would not kowtow to the malicious
11

12             and false public campaign or the abuse of process, Diaz resorted to
13
               extortion. On or about April 12, 2022 Mr. Greely issued a threat to
14

15             counsel and Heredia and on or about May 3, 2022 Heredia was sent a
16
               photograph of woman accompanied by a text message that stated:
17

18
               Pro boxer Joseph Diaz accused of attempted coercion,
               enticement of minor in lawsuit
19             Apr 12, 2022
20
               Brett Okamoto ESPN Staff Writer
21

22             "These frivolous allegations on behalf of an anonymous
23
               source have been brought by the attorney for Joseph Diaz's
               former manager, Ralph Heredia, who Mr. Diaz is suing in
24             federal court for stealing his money and violating his
25             trust," Diaz's attorney, James Greeley of VGC LLP, told
               ESPN. "Mr. Heredia and his counsel appear to be making a
26
               desperate attempt to gain leverage in that lawsuit by
27             fabricating claims by a 'Jane Doe' as part of an ongoing effort
               to defame Mr. Diaz and derail his career. They will be made
28


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     COUNTERCLAIM - 83
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               to answer for their actions. It should go without saying that
               Mr. Diaz staunchly denies these claims."
2

3              https://www.espn.com/boxing/story/_/id/33726915/pro-boxer-joseph-
               diaz-accused-attempted-coercion-enticement-minor-civil-lawsuit
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24      201. Upon information and belief, this message was sent by Diaz. Heredia
25
               understood that Diaz was threatening to tell Heredia’s wife and his
26

27
               brother that Heredia had engaged in some undetermined inappropriate

28             activity which could purportedly further damage his reputation, a

     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 84
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1
               situation Heredia could ill-afford to be in, thanks to Diaz’s smear
2              campaign.
3
        202. This threat was a direct act of attempted extortion, committed with the
4

5              intent to pressure Heredia to stop defending this legal action brought by
6
               Diaz. Heredia, knowing the falsity of this threat, remains undeterred in
7

8              his determination to ensure that the world knows one simple truth – that
9
               Heredia’s only mistake was to commit himself emotionally and
10
               financially to the success of Diaz, who has proved himself to be a
11

12             disrespectful, ungrateful, and blatant liar focused on his selfish needs and
13
               greed.
14

15                               FIRST CAUSE OF ACTION
16
                                         Abuse of Process
17

18
        203. HBM incorporates by reference and realleges each and every allegation

19             contained in the paragraphs above as though fully set forth herein.
20
        204. Diaz undertook a specific legal procedure, i.e., he sued HBM in this
21

22             matter, Case No. 5:20-cv-02332-JWH-KK;
23
        205. Diaz intentionally used this legal procedure for an improper purpose that
24

25             the procedure was not designed to achieve, to wit: Diaz instituted a
26
               proceeding alleging that the Heredias and HBM owed him money, when
27
               in fact the inverse was true. Upon information and belief, the true
28


     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 85
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1
               purpose of these allegations was to create a narrative that could be
2              employed to ruin the reputation of HBM as a business associated with the
3
               boxing industry;
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     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 86
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1
        206. HBM was harmed by Diaz’s use of this legal proceeding, reputationally
2              and financially. Diaz’s lawsuit damaged HBM’s reputation within the
3
               boxing industry, damaging relationships with active clients and quashing
4

5              the prospect of future clients. Additionally, HBM has been forced, to
6
               date, to spend hundreds of thousands of dollars in legal fees to defend
7

8              itself against Diaz’s meritless lawsuit, in addition to the unrecoverable
9
               damage to the company’s reputation within the boxing industry; Moses
10
               and Ralph Heredia, the owners, operators, and public face of HBM, have
11

12             been unable to sign star up-and-coming boxers, despite a record of
13
               success in bringing Diaz from Olympic hopeful to world champion; and
14

15      207. Diaz’s conduct was a substantial factor in causing HBM harm.
16
                                SECOND CAUSE OF ACTION
17

18
                             Defamation/Business Disparagement

19      208. HBM incorporates by reference and realleges each and every allegation
20
               contained in the paragraphs above as though fully set forth herein.
21

22      209. HBM claims that Diaz harmed it as a business entity by making the
23
               following statements:
24

25                 a. December 27, 2020: Social media -- “Watch who you are dealing
26
                      with cause a lot of people aren’t what they make themselves out to
27
                      me”[sic]; and
28


     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 87
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1
                   b. February 13, 2021: Interview -- “a lot of people that want to take a
2                     part of my exposure and talent and make some money off of me
3
                      because they feel like they can. I mean these guys are all greedy
4

5                     mother fuckers’ man and its [sic] bullshit”; and
6
                   c. July 9, 2021: Interview – “for a manager to come in here and try to
7

8                     rob me and take my money is fucking wrong”; and
9
                   d. November 5, 2021: Social media -- “Life [sic] been good after I
10
                      got rid of shit managers and got advisors & my own lawyers to
11

12                    protect me. To all the young fighters that aren’t knowledgeable
13
                      make sure you have your own lawyer before signing to any
14

15                    management or promotional company for your best interest.”
16
                      [emphasis added].
17

18
        210. Diaz made each of the above statements to a person or persons other than

19             representatives of HBM;
20
        211. This other person or these other persons reasonably understood that the
21

22             statements were about HBM, or individuals associated with the operation
23
               of HBM, to wit: the Heredias;
24

25      212. These people reasonably understood the statement(s) to mean that HBM,
26
               or its individual operators, to wit: the Heredias, cannot be trusted to work
27
               with as managers within the boxing industry; and
28


     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 88
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1
        213. Diaz failed to use reasonable care to determine the truth or falsity of the
2              statements.
3
        214. Diaz’s wrongful conduct was a substantial factor in causing: (1) harm to
4

5              HBM’s property, business, trade, profession, or occupation, including the
6
               loss of earnings and profits, both actual and expected; (2) expenses that
7

8              HBM had to pay as a result of the defamatory statements; (3) harm to
9
               HBM’s industry reputation; and/or (4) decreased traffic of clients to the
10
               business.
11

12                               THIRD CAUSE OF ACTION
13
                                            Accounting
14

15      215. HBM incorporates by reference and realleges each and every allegation
16
               contained in the paragraphs above as though fully set forth herein.
17

18
        216. As alleged herein, a confidential relationship existed between HBM and

19             Diaz and their accounts are so complicated that an ordinary legal action
20
               demanding a fixed sum is impracticable.
21

22      217. HBM is unable to determine the exact amount of money owed to it by
23
               Diaz as a result of Diaz’ conduct as alleged herein without an accounting;
24

25             however, upon information and belief, the amount owed is a sum not less
26
               than $39,168.40, based upon the current known sums:
27

28


     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 89
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1       • $31,093.40 in expenses paid by HBM on Diaz’s behalf in connection with
2
            the Farmer fight; and
3

4
        • $8,075.00 in expenses paid by HBM on Diaz’s behalf in connection with the

5           Cuadro fight.
6
        218. HBM has expended various sums on Diaz’s behalf, whether in the form
7

8              of loans or direct expenditures, with the understanding and expectation of
9
               restitution or repayment, which never occurred. There has never been a
10

11
               proper accounting or examination of these loans or expenditures, the
12             amounts paid by HBM to Diaz (or on behalf of Diaz) pursuant to them,
13
               nor the amounts repaid by Diaz to HBM.
14

15      219. Accordingly, HBM requests an accounting of all unsettled accounts
16
               between HBM and Diaz.
17

18                                  PRAYER FOR RELIEF
19
            WHEREFORE, counterclaim plaintiff Heredia Boxing Management prays
20
     for judgment and an award against counterclaim defendant Diaz as follows:
21

22          1. For compensatory damages in an amount to be determined at trial;
23
            2. For an accounting;
24

25          3. For pre- and post-judgment interest at the maximum rate allowed by law;
26
            4. For recovery of reasonable attorneys’ fees;
27

28
            5. For the costs of the suit; and


     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 90
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1
            6. For such other and further relief as the Court deems just and proper.
2           Jury trial is demanded.
3
     Dated: September 23, 2022                 Respectfully submitted,
4

5
                                               /s/ Rajan O. Dhungana
6                                              Rajan O. Dhungana (SBN: 297794)
7                                              FEDERAL PRACTICE GROUP
                                               14481 Aspen Street
8                                              Hesperia, CA 92344
9                                              Telephone: (310) 795-6905
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10

11                                             /s/ Eric S. Montalvo
12
                                               Eric S. Montalvo (Pro Hac Vice)
                                               FEDERAL PRACTICE GROUP
13                                             1750 K Street, N.W., Suite 900
14                                             Washington, D.C. 20006
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15
                                               Fax: (888) 899-6053
16                                             emontalvo@fedpractice.com
17
                                               Attorneys for Defendant / Counterclaim
18                                             Plaintiff Heredia Boxing Management
19

20

21

22

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     DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED COMPLAINT AND
     COUNTERCLAIM - 91
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1                             CERTIFICATE OF SERVICE
2          I hereby certify that on September 23, 2022, I filed the foregoing Defendant
3    Heredia Boxing Management’s Answer to the Second Amended Complaint and
4    Counterclaim with the Clerk of the Court and sent a copy of such filing via the
5    CM/ECF system.
6           Furthermore, I sent a copy via email to the following:
7
     James L. Greeley (SBN 218975)
        jgreeley@vgcllp.com
8    Diyari Vázquez (SBN 222461)
9       dvazquez@vgcllp.com
     Gina M. Simas (SBN 205367)
10
         gsimas@vgcllp.com
11   Andrew D. White (SBN 222628)
12
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     VGC, LLP
13   1515 7th Street, No. 106
14   Santa Monica, California 90401
     Telephone: (424) 256-8296
15

16   Attorneys for Plaintiff / Counterclaim Defendant
     Joseph Diaz, Jr.
17

18
     Dated: September 23, 2022
19
                                            Respectfully submitted,
20

21
                                            /s/ Eric S. Montalvo
22
                                            Eric S. Montalvo (Admitted Pro Hac Vice)
23                                          FEDERAL PRACTICE GROUP
24                                          1750 K Street, N.W., Suite 900
                                            Washington, D.C. 20006
25                                          Telephone: (202) 862-4360
26

27

28   DEFENDANT HEREDIA BOXING MANAGEMENT’S ANSWER TO THE SECOND AMENDED
     COMPLAINT AND COUNTERCLAIMS- – CERTIFICATE OF SERVICE
